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                   Exhibit 4 - 2
                                                                                                                                                           Ｖ．
                           ｃａｓｅ．                                                                                                                                Ｋａｉｈｅｒ－ＵＳ，
                                                                                                                                  ＳＤｅｆｎｄａｔ． ＣＡＮ２ＤＩ．， Ｐｌａｉｎｔｆ，
                                                                                                                                                                             ＫａｉｈｅｒＴｃｎｏｌｇｙＣ．，Ｌｍｔｄ／ｂ ＥＡＳＴＲＮＤＩＶＯ
                                                                                                                  Ｉ，Ｃａｓｉｅｈｎｄｃｌｒｔｆｏｗ： ＤＥＣＬＡＲＴＩＯＮＦＳＨ ＣａｓｅＮｏ．：１－２５ｃｖ０８４６ ＮＯＲＴＨＥＤＩＳＣＦＬＵＡ
                                                                                                                                          ＤＥＭＡＮＦＯＲＪＵＹＴＩＬ
                                                                                                                                                                                                                 Case: 1:25-cv-05846 Document #: 12-6 Filed: 06/04/25 Page 2 of 6 PageID #:283




ａＫａｉｈｅｒ－ＵＳｓｔｏｆｎｄｃｕｐｘｍｌｙ４６ ３．ＴＡｚ ｓｅｌｉｎｇａｖｒｔｙｏｆｃ，ｕｄｈｐ ＨＫ－ｂＵＳＡｚ２ＰＭＴＣＬ ｎｄＩｍｏｔｕｅｒｙｌｇｉｓｂｈｗｐｃｆ． Ｄ，１Ｉａｍｏｖｅｒｔｇｉｎｄｈｐｓｌｋｗｆ
                                                                                                                                                                  ｓｉｇｎｆｃａｔｈｒｍｏｕｂｅ． ｗｉｔｈａ９８．６４ｐｏｓｖｅｆｄｂｃｋ ｐｌａｔｆｏｒｍｉｎｈｅＵｄＳｓ．
                                                                                                                                                                                                                                                                                                                                Case: 1:25-cv-05846 Document #: 12-6 Filed: 06/04/25 Page 3 of 6 PageID #:284




ｗ２０５．Ｓｅｈｔｐｓ：／ｌｒｃｎａｍｚｏｕｂｆｘＧ１７９ ｄｉ，ｇｙＪ Ｐｌａｎｔｆ＇ｓｖｅｏｒｗｋｂｐｃｕ ，ＡｍｚｉｄＳＦ－７ｈＢＴ Ｄｎａｔ＇ｓｏｇｆｌｅｒｐ． ＯＭｙ２０５，Ｐｕｃｉｗｍｖｄｂ ｈｉｃａｒｅｏｍｎｌｙｕｓｄｂｖｔＣ． ５９０７２＠ｑ．ｃｏｍＴｈｉｓｅａｌｄｒｔｗｎ＇ｖ， ｔｈｅｉｎｆｒｇｍｃｏｐｌａｗｓｕｂｄｖ ６．Ｔ８５ＰｙＳＣＮ２ＤＩ ｒｅｓｕｌｔｄｉｎｏｇｂｍｖｆＡａｚ，ｈｃ Ｄ１０６３８５（＇Ｐ）ｗｙＳＣＮ２Ｉ．Ｔｐ ＳＣＮ２ＤＩ．ｌｅｉｎｇｔｏｕｒｐｄｆｓＵＰａ ５ＯＭ１７，０ｗＡｚ ＷｅｈａｖｃｏｎｓｉｔｌｙｍｄｒｇｐｆＡｚ， ４．Ｔｗ１０ ｒｅｖｎｕａｄ４５．２７ｏｆｔｌｓｍＴｈｉｐｃｙ
                                                                        ｄｅｌｉｓｔｄ．                                                               ｔｉｍｅ．


                                         ｌｏｓｆａｃｅｔｐｎｉｕｍｒ． ｏｐｔｉｍｚａｎ，ｄｅｌ－ｒｘｓ．
                                                                                                                                                                                                          Case: 1:25-cv-05846 Document #: 12-6 Filed: 06/04/25 Page 4 of 6 PageID #:285




ｃｕｓｔｏｍｅｒｎｇａ，ｄｈｉｌｐｆ—ｙｖｋｂ ｗｓｔｅｒｏｕｃ＇Ａｍａｚｎｉｇｄｐ．Ｉ １２ｆｖ， ｃａｕｓｅｄｉｒｐｂｌｈｍｎｔｆｏｋ， １．Ｄ＇ｇ ｐｒｏｃｅｄｕｓ，ｂｔｈｆａｖｎｌｍｉ１０．Ｗｚ＇ ｕｎｄｅｒａｗＡＳＩＮ，ｃｉｇｏｖｂｌｓｔｈ ｐｙｍｑ ９．Ｔｆ， ｈａｓｃｕｅｄｉｒｐｂｌｍｔｏｎｇｗｖ ．Ｔ ｃｆＡａｚｈｓｄｉｒｕｐｔｅｏｎｋ，ｂｌｙ ｗｖｍ ８．Ｔａｃｈｔｏｆｓｅｒｄ
２０， ２５．                                          ｒｅｑｕｓｔ．
                                                                                                                                  ｒｅｃｏｖｆｍｔｈｓｄａｇ．                           ｆｕｒｔｈｅｓａｌｏ．
                                                                                                                                                                                                                                                        Case: 1:25-cv-05846 Document #: 12-6 Filed: 06/04/25 Page 5 of 6 PageID #:286




          ２０５，ａｎｄｗｅｉｍｔｌｙｆｒＡｚｏｐｓｕｃＭ ｇｂ．ＯＳＩＮ１７Ｗｖｗｑｋ ｃｏｎｆｉｒｍｅｄｔｈａｙｌｐｕｓｗ ＤｇＭＹｒｅｓｐｏｎｉｂｌｆｊｃｔｈａｍｄｕｇｙ ＩｎｄｕｓｔｒｉａｌＣｏ．，ＬｗｈｍｅｂｆＤ １４ＯＭｙ８２０５ＹＳｚ ｗｈｉｃｌｏｒｓｅｎｕａｄｙｇｔｖｆｋｍ１３．Ｗｅａｌｓｏｆｃｔｈｒｍｖｎｄ／ｕｉｙ， ｄｉｆｃｕｌｔｏｗｎｂａｋｅｓ，ｈｙｒｇＡＳＩＮ ｐ—ｖ．Ｃｍｘ ｉｌｔｃｏｂｅｄｓｎａｙｆｕ，ｋ ｒｈｇｖ．Ｏ ｗＴｉｐｔｍｅ－ｂｌｃａｄｎ
               Ｃｈａｎｇｓ，ｉ．

Ｃａｓｉｅｈｎ ｃｈｅｎ
                                                                                                                            Case: 1:25-cv-05846 Document #: 12-6 Filed: 06/04/25 Page 6 of 6 PageID #:287




                           ｄＡｍｅｒｉｃａｔｈｆｏｇｎｓｕｄ．ＥｘＭｙ２８，０５ ＩｄｅｃｌａｒｕｎｐｔｙｏｆｊｈｗｓＵｉＳ ａｍｇｅｉｆｎｘｐｒｔＴｏｙＲｓＯｕ． １６．Ｏｕｒｃｏｍｐａｎｙｗｉｌｓｆｅｄｔｂｊ，
